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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                    July 30, 2021

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Attorney for Kyle Young

       Re:      United States v. Thomas Sibick, Albuquerque Head, Kyle Young
                Case No. 21-CR-291 – Production #4

Dear Counsel:

       We are writing to update you with additional discovery that has been provided for this case on July 30,
2021 via a shared folder on USA File Exchange, that contains the following materials.

   •   Highly Sensitive Folder:
          o Medical Records for Officer M.F.

                                                       ****

       We will forward additional discovery as it becomes available. If you have any questions about the
information provided above or if you have any issues accessing or downloading the materials provided, please
contact the undersigned Assistant United States Attorneys.
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                                         Sincerely,



                                         TARA RAVINDRA
                                         CARA GARDNER
                                         Assistant United States Attorneys
Enclosures




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